                          1:19-cv-01133-SEM-EIL # 188        Page 1 of 3
                                                                                                     E-FILED
                                                                Wednesday, 17 August, 2022 04:15:47 PM
                                                                           Clerk, U.S. District Court, ILCD

044653/19344/JNR

                            UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF ILLINOIS, PEORIA DIVISION

ANTHONY GAY,

                         Plaintiff,

v.
                                                    Case Number 19-cv-01133
THE STATE OF ILLINOIS, JOHN
BALDWIN, JEFF SIMS, SHANE REISTER,                  Judge Sue E. Myerscough
DR. DOE 1, MELVIN HINTON, SYLVIA
BUTLER, KELLY ANN RENZI, WILLIAM                    Magistrate Judge Eric I. Long
PUGA, DR. CHESS, DR. NUNEZ,
WEXFORD HEALTH SOURCES, INC., and
DOES 2-5,

                         Defendants.

 MOTION FOR LEAVE TO WITHDRAW MOTION FOR SANCTIONS DOC. 187 AND
            TO REFILE AMENDED MOTION FOR SANCTIONS

       NOW COMES the Defendants, WEXFORD HEALTH SOURCES, INC., KELLY

RENZI, PSY.D., and WILLIAM PUGA, M.D., by and through their attorney, Joseph N. Rupcich

of CASSIDAY SCHADE LLP, and for their Motion for Leave to Withdraw their Motion for

Sanctions [Doc. 187] and Refile Amended Motion for Sanctions, state as follows:

       1.      Defendants filed their Motion for Sanctions on August 8, 2022. [Doc. 187]. That

Motion included a detailed timeline of events related to Plaintiff’s loss of 24 boxes of documents

consisting of approximately 72,000 pages. This chronology was pieced together from emails

Defendants received in response to a subpoena to a third-party vendor and from Plaintiff in

response to discovery.

       2.      On August 15, 2022, Plaintiff produced additional emails that further develop the

chronology of Plaintiff’s loss of the documents. Specifically, these newly produced emails show

that Defendants’ belief Plaintiff had no action or communication with this discovery from
                       1:19-cv-01133-SEM-EIL # 188             Page 2 of 3




February 2019 to June 2021 was incorrect.           In fact, a former employee of D4 contacted

Plaintiff’s lawyers in January 2020 reminding them the discovery was still at D4 and offering to

take it, store, and digitize it. It appears no action was taken in response to this January 2020

reminder and the boxes were destroyed in March 2021.

       3.      This second instance of abandonment of the discovery is relevant to Defendants’

Motion. Defendants seek leave to withdraw their Motion document 187 and to re-file their

Motion with this new information and argument related to it.

       4.      Defendants’ Amended Motion for Sanctions and supporting memorandum of law

is attached hereto.

       5.      Plaintiff does not object to Defendants withdrawing and re-filing but requests the

full response time of 14 days allowed under the Local Rules of the Central District.

       WHEREFORE, for the above reasons, Defendants respectfully request this Honorable

Court grant their Motion for Leave to Withdraw their Motion for Sanctions [Doc. 187] and

Refile Amended Motion for Sanctions

                                             Respectfully submitted,

                                             CASSIDAY SCHADE LLP

                                             By: /s/ Joseph N. Rupcich
                                                 One of the Attorneys for Defendant,
                                                 WEXFORD HEALTH SOURCES, INC.,
                                                 KELLY RENZI, PSY.D., and WILLIAM
                                                 PUGA, M.D.

Joseph N. Rupcich
ARDC No. 6283899
CASSIDAY SCHADE LLP
3100 Montvale Drive
Springfield, IL 62704
(217) 572-1714
(217) 572-1613 (Fax)
jrupcich@cassiday.com



                                                2
                          1:19-cv-01133-SEM-EIL # 188           Page 3 of 3




                                   CERTIFICATE OF SERVICE

           I hereby certify that on August 17, 2022, I electronically filed the foregoing Motion for

Leave to Withdraw Motion for Sanctions [Doc. 187] and Refile Amended Motion for Sanctions

with the Clerk of the Court using the CM/ECF system. The electronic case filing system sent a

“Notice of E-Filing” to the following:

Nicholas S. Staley, Phillip Rehani
Office of the Illinois Attorney General
100 W. Randolph Street, 13th Floor
Chicago IL 60601

Alan Remy Taborga
Assistant Attorney General
1776 E. Washington Street
Urbana IL 61802

Stetson F. Atwood, Laura Ieremia,
Scott Kater, Monica L. Smit
Donohue Brown Mathewson & Smyth, LLC
131 South Dearborn Street, Suite 1600
Chicago, IL 60603

Antonio M. Romanucci, Stephan D. Blandin,
Bhavani Raveendran
Romanucci & Blandin, LLC
321 N. Clark Street, Suite 900
Chicago, IL 60654

Stephen H. Weil, Jon Loevy
Arthur Loevy,Locke E. Bowman
Loevy & Loevy
311 N. Aberdeen, 3rd Floor
Chicago IL 60607

           Under penalties as provided by law pursuant to 735 ILCS 5/1-109, I certify that the

statements set forth herein are true and correct:



                                                                              /s/ Joseph N. Rupcich
11154984




                                                    3
